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 8                           UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
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     HOLLISTER GEORGE,                                1: 08 CV 00132 AWI WMW HC
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                            Petitioner,               ORDER DENYING MOTION FOR STAY
13
                                                      [Doc. 12]
14          v.
15
     W. J. SULLIVAN, WARDEN,
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                            Respondent.
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            Petitioner is a prisoner proceeding with a petition for writ of habeas corpus pursuant to 28
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     U.S.C. Section 2254.
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            On June 11, 2008, Respondent filed a motion for stay of the proceedings pending the Ninth
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     Circuit’s en banc review in Hayward v. Marshall, 512 F.3d 536 (9th Cir.2008), reh’g en banc
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     granted, ___ F.3d ___, 2008 WL 2131400, No. 06-55392 (9th Cir. May 16, 2008). Petitioner has not
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     responded to the motion.
26
                                                DISCUSSION
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            As Respondent notes, the Ninth Circuit has acknowledged that this Court “may, with
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 1   propriety, find it is efficient for its own docket and the fairest course for the parties to enter a stay of
 2   an action before it, pending resolution of independent proceedings which bear upon the case.” Leyva
 3   v. Certified Grocers of California Ltd., 593 F.2d 857, 863 (9th Cir.1979). However, the Ninth Circuit
 4   has also determined that “once a federal circuit court issues a decision, the district courts within that
 5   circuit are bound to follow it and have no authority to await a ruling by the Supreme Court before
 6   applying the circuit court's decision as binding authority.” Yong v. Immigration and Naturalization
 7   Service, 208 F.3d 1116, 1119 n. 2 (9th Cir.2000). In addition, “habeas proceedings implicate special
 8   considerations that place unique limits on a district court's authority to stay a case in the interests of
 9   judicial economy.” Yong, 208 F.3d at 1120. “Special solicitude is required because the writ is
10   intended to be a ‘swift and imperative remedy in all cases of illegal restraint or confinement.’” Id.,
11   quoting Fay v. Noia, 372 U.S. 391, 400 (1963). In Yong, the Ninth Circuit addressed an analogous
12   situation where the district court issued a stay pending a decision from the Supreme Court. The
13   Ninth Circuit found that although considerations of judicial economy are appropriate, they cannot
14   justify an indefinite and potentially lengthy stay of a habeas proceeding. Id. at 1120-21.
15   Consequently, the Ninth Circuit ruled the district court abused its discretion in granting a stay.
16           In this case Respondent asks the Court to stay the proceedings pending a decision in
17   Hayward. Like Yong, such a stay would be lengthy. As well, this is a habeas proceeding and
18   therefore implicates special considerations that limit the Court’s authority to issue a stay. But more
19   importantly, there is ample binding precedent from the Ninth Circuit other than Hayward which bear
20   on the issues in the petition. See Superintendent v. Hill, 472 U.S. 445, 457 (1985); Biggs v. Terhune,
21   334 F.3d 910, 914 (9th Cir.2003); Sass v. California Board of Prison Terms, 461 F.3d 1123, 1127-28
22   (9th Cir.2006); Irons v. Carey, 505 F.3d 846, 851 (9th Cir.2007). Pursuant to Yong, this Court has no
23   authority to await a further ruling from the Ninth Circuit before applying these binding precedents.
24   208 F.3d at 1119 n. 2.
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 1                                                   ORDER
 2          Accordingly, IT IS HEREBY ORDERED as follows:
 3          1) Respondent’s motion for stay is DENIED;
 4          2) Respondent’s response to the petition for writ of habeas corpus shall be filed no later than
 5   sixty (60) days from the date of service of this order.
 6   IT IS SO ORDERED.
 7   Dated: December 3, 2008                         /s/ William M. Wunderlich
     mmkd34                                     UNITED STATES MAGISTRATE JUDGE
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